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AB:LM

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
COMPLAINT
> against -
(21 U.S.C. §§ 841 and 846)
LINGWU CHEN and JIAYUN LIN,
No. 23-mj-113
Defendants.
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EASTERN DISTRICT OF NEW YORK, SS:

MARK SANTIAGO, being duly sworn, deposes and states that he is a Task Force
Officer with the Drug Enforcement Administration, duly appointed according to law and acting
as such.

On or about February 1, 2023, within the Eastern District of New York and
elsewhere, the defendants LINGWU CHEN and JIAYUN LIN did knowingly and intentionally
conspire to distribute and possess with intent to distribute a controlled substance, which offense
involved a substance containing methamphetamine, a Schedule II controlled substance, contrary
to Title 21, United States Code, Sections 841 and 846.

(Title 21, United States Code, Sections 841 and 846)

The source of your deponent’s information and the grounds for his belief are as
follows:!

1. I am a Task Force Officer with the Drug Enforcement Administration

 

' Because the purpose of this Complaint is to set forth only those facts necessary to
establish probable cause to arrest, I have not described all the relevant facts and circumstances of
which I am aware.
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(“DEA”) and have been involved in the investigation of numerous cases involving drug
trafficking, including those involving the trafficking of methamphetamine. I am familiar with
the facts and circumstances set forth below from my participation in the investigation; my review
of the investigative file; and from reports of other law enforcement officers involved in the
investigation.

2. On or about February 1, 2023, law enforcements officers observed a
White Mercedes Benz vehicle that committed various traffic infractions, including failing to stop
at a stop sign at the intersection of 100" Street and 23" Avenue in Queens, New York.

LINGWU CHEN was driving the vehicle and JIAYUN LIN was sitting in the passenger seat of
the vehicle.

3. After witnessing the traffic infractions, law enforcement officers
proceeded to stop the vehicle. At that point, they observed that a Target store reusable bag had
been thrown out of the passenger seat window of the vehicle. Officers immediately obtained the
bag and observed that the Target store reusable bag contained a “Ziploc” bag with what appeared
to be methamphetamine inside. LINGWU CHEN and JIAYUN LIN were then placed under
arrest.

4, While attempting to place the defendants under arrest, law enforcement
officers observed JIAYUN LIN trying to hide inside the vehicle’s front passenger door
compartment a “Ziploc” bag with what appeared to be methamphetamine.

5. After a search incident to arrest, law enforcement officers found an
additional “Ziploc” bag with what appeared to be crystal methamphetamine in one of JIAYUN
LIN’s pockets. Officers also found another “Ziploc” bag with what appeared to be crystal

methamphetamine inside a brown leather jacket on the rear passenger seat of the vehicle, and
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which LINGWU CHEN had identified as his jacket.

6. A subsequent field test confirmed that these substances were in fact
methamphetamine. The total approximate weight of the methamphetamine in the defendants’
possession was 907 grams.

F Furthermore, after a search incident to arrest, law enforcement officers
found a glassine bag with approximately 8 grams of what appeared to be ketamine in one of
LINGWU CHEN’s pockets.

8. Law enforcement officers conducted an inventory search of the vehicle
and found approximately $3,900 cash inside the vehicle.

9. The total approximate weight of methamphetamine in the defendants’
possession was 907 grams.

WHEREFORE, your deponent respectfully requests that the defendants LINGWU

CHEN and JIAYUN LIN be dealt with according to law.

MARK SANTIAGO

Task Force Officer
Drug Enforcement Administration

Sworn to before me this
3° day of February, 2023
3nd

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HONORABEE TARYN A. MERKL
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
